Case 9:20-md-02924-RLR Document 2813-1 Entered on FLSD Docket 02/16/2021 Page 1 of 3




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

        IN RE: ZANTAC (RANITIDINE)                   MDL NO. 2924
        PRODUCTS LIABILITY                           20-MD-2924
        LITIGATION
                                                     JUDGE ROBIN L. ROSENBERG
                                                     MAGISTRATE JUDGE BRUCE E. REINHART
        _______________________________/

        THIS DOCUMENT RELATES TO:

        Nathan Gibbons v. GlaxoSmithKline, et al.                   9:21-cv-80236-RLR


        DECLARATION OF R. BRENT WISNER IN SUPPORT OF REPLY IN SUPPORT OF
                         PLAINTIFF’S MOTION TO REMAND
             I, R. Brent Wisner, do hereby declare and state:

            1.   I am an attorney licensed to practice in the State of California and District of

    Columbia. I am admitted to practice before this Court pro hac vice and pursuant to Pretrial

    Order # 1. I am a Shareholder with the law firm of Baum, Hedlund, Aristei & Goldman, P.C.,

    and counsel of record for Plaintiff Nathan Gibbons. I make this declaration based on my

    personal knowledge and, if called as a witness, I could and would testify competently to these

    matters.

            2.    Attached as Exhibit 1 is a fair and accurate copy of an example of a Notice of
    Removal issued by the Drug Company Defendants1 in a lawsuit filed in California state court

    wherein the Drug Company Defendants were not named.

            3.   Attached as Exhibit 2 is a fair and accurate copy of the Declaration of Alex

    Beroukhim, dated February 12, 2021, that was purported to be filed in the ongoing California

    Judicial Council Coordinated Proceeding, IN RE RANITIDINE CASES, JCCP005150 (Sup. Ct.

    Alameda Cnty.) on behalf of the Drug Company Defendants.

            4.   Attached as Exhibit 3 is a fair and accurate copy of an Order issued by the Hon.


    1
     “Drug Company Defendants” collectively refers to Defendants GlaxoSmithKline, LLC, Boehringer Ingelheim
    Pharmaceuticals, Inc., Boehringer Ingelheim USA Corp., Sanofi US Services Inc., and Sanofi-Aventis U.S. LLC.

                                                          1
Case 9:20-md-02924-RLR Document 2813-1 Entered on FLSD Docket 02/16/2021 Page 2 of 3




    Susan Illston on November 2, 2020, in various cases removed by the Drug Company Defendants

    in the Northern District of California.

           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on the 16th of February, 2021 at Tiburon, California.

                                              /s/ R. Brent Wisner
                                              R. Brent Wisner, Esq.




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Case 9:20-md-02924-RLR Document 2813-1 Entered on FLSD Docket 02/16/2021 Page 3 of 3




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 16th day of February, 2021, I filed the foregoing MOTION
    TO REMAND CASES TO CALIFORNIA STATE COURT electronically through the
    CM/ECF system, which will send notice of filing to all CM/ECF participants.


    Dated: February 16, 2021            BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C.

                                        /s/ R. Brent Wisner
                                        R. Brent Wisner, Esq.
                                        rbwisner@baumhedlundlaw.com
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                                        Attorneys for Plaintiff Nathan Gibbons




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